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  IT IS ORDERED as set forth below:



  Date: December 12, 2022
                                                _________________________________

                                                         Jeffery W. Cavender
                                                    U.S. Bankruptcy Court Judge

 ________________________________________________________________



                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

                                       )          CHAPTER 7
IN RE:                                 )
                                       )          CASE NO. 20-67784-JWC
DARWIN G. FLORES,                      )
                                       )
        Debtors.                       )
                                       )
                                       )
S. GREGORY HAYS, as Chapter 7 trustee, )
                                       )
        Movant,                        )
                                       )
v.                                     )          CONTESTED MATTER
                                       )
U.S. BANK NATIONAL ASSOCIATION,        )
NEWREZ LLC d/b/a Shellpoint Mortgage   )
Servicing, GWINNETT COUNTY TAX         )
COMMISSIONER and DARWIN G. FLORES, )
                                       )
        Respondents.                   )
                                       )

    ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO (A) SELL
  PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS,
          INTERESTS, AND ENCUMBRANCES AND (B) DISBURSE
                   CERTAIN PROCEEDS AT CLOSING
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       On November 7, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estates (the “Bankruptcy Estate”) of Darwin G. Flores (“Debtor”), filed Trustee’s

Motion for Authority to (A) Sell Property of the Bankruptcy Estate Free and Clear of All Liens,

Interests, and Encumbrances and (B) Disburse Certain Proceeds at Closing [Doc. No. 92] (the

“Sale Motion”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2),

6004(a), 6004(c), and 9014. In the Sale Motion, Trustee sought, among other things, an order

from the Court authorizing the sale (“Sale”) of that certain real property known generally as

5598 Charmaine Bnd, Norcross, GA 30071 (the “Property”) to Ye Liu (the “Purchaser”), “as

is, where is,” for the sale price of $247,500.00 (the “Purchase Price”) with a seller contribution

of $2,500.00 in accordance with the terms of a Purchase and Sale Agreement (the “Contract”),

attached to the Sale Motion as Exhibit “A.”

       Also on November 7, 2022, Trustee filed Notice of Trustee's Motion for Authority to (A)

Sell Property of the Bankruptcy Estate Free and Clear of All Liens, Interests, and Encumbrances

and (B) Disburse Certain Proceeds at Closing; Deadline to Object; and for Hearing [Doc. No.

93] (the “Notice”) regarding the Sale Motion, in accordance with the Second Amended and

Restated General Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on

all requisite parties in interest on November 7, 2022. [Doc. No. 94].

       The Notice provided notice of the opportunity to object whereupon a hearing would be

held on December 15, 2022, at 11:00 a.m., pursuant to the procedures in the Second Amended

and Restated General Order No. 24-2018.

       On November 10, 2022, U.S. Bank National Association (“U.S. Bank”) filed a response

[Doc. No. 95] (the “Response”) to the Sale Motion, among other things, requesting that Trustee

pay its secured claim in the Property in full at the closing of the proposed Sale. In his Sale
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Motion, Trustee requested relief to pay the secured claim of U.S. Bank in full, and Trustee

intends to pay the secured claim of U.S. Bank in full at the closing of the proposed Sale.

        No other creditor or party in interest filed an objection to the Sale Motion prior to the

objection deadline provided in the Notice.

        The Court having considered the Sale Motion and all other matters of record, including

the Response and the lack of objection by any other creditor or party in interest to the relief

requested in the Sale Motion, and based on the foregoing, finding that no further notice or

hearing is necessary, and, the Court having found good cause exists to grant the relief requested

in the Sale Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED and that the Response is

OVERRULED in part and GRANTED in part, as expressly set forth herein. It is further

        ORDERED that the Contract is APPROVED and its terms are incorporated into this

Order. It is further

        ORDERED that Trustee, in his business judgment, is authorized to consider and agree to

any offer from a competing bidder (the “Substitute Purchaser”) that (a) exceeds the Purchase

Price by at least $7,000.00; (b) is supported by earnest money of at least two percent (2%) of the

bid price; (c) is not accompanied by any contingencies; and (d) can close within 10 days of the

entry of this Order. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary

or appropriate to (a) consummate the Sale of the Property to Purchaser or a Substitute Purchaser

and perform under the terms of the Contract; (b) execute, perform, consummate, implement, and

close fully the Sale together with all additional instruments and documents that may be

reasonably necessary; and (c) execute and perform all of the obligations of Trustee under the
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Contract. It is further

          ORDERED that this Order shall be binding upon all creditors (whether known or

unknown) of Debtors, Purchaser, any Substitute Purchaser, Trustee, the Bankruptcy Estate, and

their respective successors, assigns, affiliates, and subsidiaries. It is further

          ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser or a Substitute Purchaser free and clear of all liens, claims,

interests, and encumbrances with all unpaid, valid, and enforceable liens, claims, interests, or

encumbrances attaching to the Sale proceeds with the same extent, validity, and priority that they

held in the Property. It is further

          ORDERED that the Sale of the Property to Purchaser or a Substitute Purchaser is “as is,”

“where is,” and without representation or warranty, express or implied, from Trustee. It is

further

          ORDERED that the transactions contemplated by the Contract and this Order are

undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale of the Property shall not affect the validity of the Sale to

the Purchaser, unless such authorization is duly stayed pending such appeal. The Purchaser is a

purchaser in good faith of the Property, and she is entitled to all the protections afforded by

Section 363(m) of the Bankruptcy Code. It is further

          ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser or a Substitute

Purchaser are free to close the Sale of the Property at any time, at which time the gross Sale
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proceeds shall be paid to Trustee pursuant to this Order, and those disbursements requested by

the Trustee in his Sale Motion are authorized to be made, including, but not limited to: (a)

Debtor’s homestead exemption of $21,500.00; and (b) the required full payoff owed to U.S.

Bank for its secured claim in the Property. It is further

       ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from disputes or controversies relating to or concerning the Sale, the

Contract, or this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER LLC
Attorneys for Chapter 7 Trustee

By:/s/ Michael J. Bargar
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Order reviewed and consented to by:

LEFKOFF, RUBIN, GLEASON, RUSSO & WILLIAMS, P.C.
Attorneys for U.S. Bank


By:/s/ Andrew D. Gleason   (with express permission by MJB)
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Identification of parties to be served:
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Bruce Williams, CEO, NewRez LLC, 1100 Virginia Drive, Suite 125, Fort Washington, PA, 19034

NewRez LLC, c/o Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, GA
30092

Andrew D. Gleason, Lefkoff Rubin Gleason Russo & Williams PC, 5555 Glenridge Connector,
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Denise R. Mitchell, Gwinnett County Tax Commissioner, PO Box 829, Lawrenceville, GA
30046

Michael Campbell, Attention: Denise Hammock, Campbell & Brannon, LLC, 5565 Glenridge
Connector, Suite 350, Atlanta, GA 30342

Darwin G. Flores, 5598 Charmaine Bnd, Norcross, GA 30071

U.S. Bank National Association, Andy Cecere, CEO, 425 Walnut St, Cincinnati, OH 45202

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